            Case 8:16-cv-00860-DKC Document 32 Filed 03/28/17 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

SCOTTSDALE CAPITAL ADVISORS                    )
CORPORATION, et al.,                           )
                                               )
                Plaintiffs,                    )
                                               )
       v.                                      )          Case No. 8:16-cv-00860-DKC
                                               )
FINANCIAL INDUSTRY                             )
REGULATORY AUTHORITY, INC.,                    )
                                               )
                Defendant.                     )
                                               )

                  MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

       Pursuant to Local Rules 101(2)(a) and 101(2)(b), it is hereby requested that the

appearance of Vijay Rao be withdrawn as counsel for the defendants in this matter. The

defendants continue to be represented by Matthew H. Kirtland and Kevin Harnisch.




Dated: March 28, 2017                              Respectfully submitted,

                                                   /s/ Matthew H. Kirtland
                                                   ___________________________________
                                                   Matthew H. Kirtland (Bar No. 26089)
                                                   Kevin Harnisch (admitted pro hac vice)
                                                   Vijay Rao (admitted pro hac vice)
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